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                        Attorney for Paul Giusti
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                    6                                   UNITED STATES DISTRICT COURT
                    7                              NORTHERN DISTRICT OF CALIFORNIA
                    8                                      SAN FRANCISCO DIVISION
                    9
                                                                            Case No. 3:21-CR-00294-WHO
                        UNITED STATES,
                   10
                                                                            STIPULATED MOTION TO CONTINUE
                                           Plaintiff,
                   11                                                       SENTENCING; [PROPOSED] ORDER
                               v.
                   12
                        PAUL GIUSTI,
                   13
                                           Defendant.
                   14

                   15
                               Counsel for the United States and counsel for defendant Paul Giusti stipulate and request
                   16
                        to continue the sentencing in the above-captioned matter two weeks, from October 5, 2023, to
                   17
                        October 19, 2023. The parties have confirmed the availability of U.S. Probation Officer Cindy
                   18
                        Suntay for the revised date.
                   19
                   20   SO STIPULATED.

                   21   Dated: September 20, 2023                         PATRICK D. ROBBINS
                                                                          ATTORNEY FOR THE UNITED STATES
                   22
                                                                         By:          /s/
                   23                                                          DAVID J. WARD
                                                                               Assistant United States Attorney
                   24

                   25
                                                                          DECHERT LLP
                   26   Dated: September 20, 2023
                                                                         By:         /s/
                   27
                                                                               HARTLEY M.K. WEST
                   28                                                          Attorney for Defendant Paul Giusti
DECHERT LLP             STIPULATED MOT. TO CONTINUE SENTENCING; [PROPOSED] ORDER
ATTORNEYS AT LAW
 SAN FRANCISCO
                        3:21-cr-00294-WHO
                          Case 3:21-cr-00294-WHO Document 47 Filed 09/21/23 Page 2 of 2



                    1                                      [PROPOSED] ORDER
                    2
                              The parties’ stipulated request to continue sentencing in the above-captioned matter from
                    3
                        October 5, 2023, to October 19, 2023, is GRANTED.
                    4
                        IT IS SO ORDERED.
                    5

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                        Date: ________________________                    _________________________________
                    7                                                     HON. WILLIAM H. ORRICK
                                                                          United States District Judge
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DECHERT LLP
                        STIPULATED MOT. TO CONTINUE SENTENCING; [PROPOSED] ORDER
ATTORNEYS AT LAW        3:21-cr-00294-WHO
 SAN FRANCISCO
                                                        2
